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                                                       THE HONORABLE JOHN C. COUGHENOUR
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                                 UNITED STATES DISTRICT COURT
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                                WESTERN DISTRICT OF WASHINGTON
 8                                        AT SEATTLE

 9   MARCUS A. CHURCH,                                        CASE NO. C20-5667-JCC
10                              Plaintiff,                    ORDER
11          v.

12   STATE OF WASHINGTON,

13                              Defendant.
14

15          This matter comes before the Court on the Report and Recommendation of the Honorable
16   J. Richard Creatura, United States Magistrate Judge (Dkt. No. 7). The Court, having reviewed
17   Petitioner’s 28 U.S.C. § 2254 petition, the Report and Recommendation of J. Richard Creatura,
18   United States Magistrate Judge, and the remaining record, does hereby find and ORDER:
19          (1)      The Court ADOPTS the Report and Recommendation;
20          (2)      Petitioner’s 28 U.S.C. § 2254 habeas petition is DISMISSED without prejudice;
21          (3)      Petitioner is DENIED issuance of a certificate of appealability;
22          (4)      Petitioner’s in forma pauperis status is REVOKED for any appeal; and
23          (3)      The Clerk is DIRECTED to send copies of this Order to Petitioner and to the
24                   Honorable J. Richard Creatura.
25   //
26   //


     ORDER
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              Case 3:20-cv-05667-JCC Document 8 Filed 11/04/20 Page 2 of 2




 1   DATED this 4th day of November 2020.




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                                              John C. Coughenour
 5                                            UNITED STATES DISTRICT JUDGE
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